          Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 1 of 15




                               UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEW MEXICO
                              _____________________________________

UNITED STATES OF AMERICA,

                 Plaintiff,

        vs.                                                                          No. 1:17-cr-01235-WJ

MATTHEW WOODS

                 Defendant1.

               MEMORANDUM OPINION AND ORDER
DENYING DEFENDANT WOOD’S JOINT MOTION TO EXCLUDE GOVERNMENT’S
                      EXPERT WITNESSES

        THIS MATTER comes before the Court upon Defendant Wood’s Joint Motion to

Exclude Government’s Expert Witnesses or in the Alternative to Hold a Daubert Hearing, filed

March 30, 2018 (Doc. 190). Defendant Woods (“Defendant” or “Woods”) is charged with crimes

related to alleged involvement in a commercial sex trafficking ring referred to by the

Government as the “Galloway Organization.”                Woods motion is granted in that the Court

conducted a Daubert hearing; however, after hearing testimony from the proposed expert

witnesses and after considering the oral and written arguments of counsel, the Court DENIES the

motion to exclude the Government’s expert witness testimony.

                                                      BACKGROUND

        In this Daubert motion, Defendant seeks to exclude the testimony of several Government

expert witnesses, specifically: Kim Mehlman-Orozco and Special Agent Morgan Langer (“SA




1
  The original indictment was filed against five defendants. One defendant was dismissed from the case and three
defendants have entered into plea agreements with the Government, so Defendant Matthew Woods is the sole
remaining defendant in this case.
            Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 2 of 15




Langer”).2 The Government’s objective is to offer their testimony to counter Defendant’s

position that the victims in this case were active and willing participants in the organization. Dr.

Mehlman-Orozco is expected to testify regarding the clandestine nature of human trafficking

crimes; the trauma bond that exists between victims of human trafficking; and the complex

reactions due to trauma bonding with their offender.” SA Langer will testify regarding the

various characteristics of human traffickers based on training & experience.

                                                      DISCUSSION

          A district court’s gate-keeping function involves a three-step analysis. First, the Court

must determine whether the expert is qualified by “knowledge, skill, experience, training or

education” to render an opinion. See Fed.R.Evid. 702. Second, if the witness is so qualified, the

Court must determine whether the expert’s opinions are “reliable” under the principles set forth

under Daubert v. Merrell Dow Pharm., Inc., and Kumho Tire Co., Ltd. v. Carmichael. 509 U.S.

579, 597 (1993) and 526 U.S. 137 (1999); see also Ralston v. Smith & Nephew Richards, Inc.

275 F.3d 965 (10th Cir. 2001). Third, Rule 702 further requires that the evidence or testimony

“assist the trier of fact to understand the evidence or to determine a fact in issue.” This condition

goes primarily to relevance. Daubert, 509 U.S. at 591 (“. . . Rule 702's “helpfulness” standard

requires a valid scientific connection to the pertinent inquiry as a precondition to admissibility”).

          Qualifications: Defendant’s objections to the Government’s experts focus on reliability

and relevance. Defendant does not offer any challenge to the qualifications of either expert, but

the Court will quickly review these qualifications for the record.

          Reliability: The district court must ensure that any expert testimony admitted rests on a

reliable foundation and is relevant to the task at hand. Daubert v. Merrell Dow Pharm., Inc., 509

U.S. 579, 597 (1993). The burden of proof is on the proponent of the expert, in this case the

2
    Defendant’s challenges to the Government’s expert witnesses were narrowed at the hearing.

                                                        -2-
         Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 3 of 15




Government. See U.S. v. Baines, 573 F.3d 979, 985 (10th Cir. 2009) (quoting Fed. R. Evid.

702). In Daubert, the Supreme Court set out a non-exhaustive set of factors that trial courts may

consider in determining whether proposed expert testimony is based on reliable methods and

principles: (1) whether the particular theory can be and has been tested; (2) whether the theory

has been subjected to peer review and publication; (3) the known or potential rate of error; (4)

the existence and maintenance of standards controlling the techniques operation; and (5) whether

the technique has achieved general acceptance in the relevant scientific or expert community.

509 U.S. at 593-94. Daubert itself was limited to scientific evidence, see U.S. v. Baines, 573

F.3d 979, 985 (10th Cir. 2009), but in Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), the

Supreme Court made clear that the gatekeeping obligation of the district courts described in

Daubert applies, not just to scientific testimony, but to all expert testimony. Id. at 141. While a

district court may consider the Daubert factors in determining the admissibility of non-scientific

expert testimony to the extent they are relevant, id. at 150, the test of reliability is flexible, and

Daubert’s list of specific factors neither necessarily nor exclusively applies to all experts or in

every case. The law grants a district court the same broad latitude when it decides how to

determine reliability as it enjoys in respect to its ultimate reliability determination. Id. at 141-42;

see Witherspoon v. Navajo Ref. Co., LP, 2005 WL 5988649 at *3 (D.N.M., July 18, 2005) (citing

Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)).

       Relevance: To be relevant, proposed expert testimony must logically advance a material

aspect of the case,” Norris v. Baxter Healthcare Corp., 397 F.3d 878, 884 n. 2 (10th Cir. 2005),

and be “sufficiently tied to the facts of the case that it will aid the jury in resolving a factual

dispute,” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 591(1993). (quotation omitted). In

assessing whether testimony will assist the trier of fact, district courts consider several factors,



                                                 -3-
          Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 4 of 15




including whether the testimony “is within the juror’s common knowledge and experience,” and

“whether it will usurp the juror’s role of evaluating a witness’s credibility.” United States v.

Rodriguez-Felix, 450 F.3d 1117, 1123 (10th Cir. 2006) (footnote omitted). Pursuant to Rule 702,

courts must conduct a “common-sense inquiry” into whether a juror would be able to understand

certain evidence without specialized knowledge. United States v. Becker, 230 F.3d 1224, 1231

(10th Cir.2000).

I.       Dr. Mehlman-Orozco

         A.     Qualifications

         Dr. Mehlman-Orozco considers herself a leading expert in cases on sex trafficking and

the Court agrees with that self-description. She has participated extensively and been a speaker

at conferences on the issue; has conducted training for law enforcement personnel in recognizing

and dealing with sex trafficking cases; has written numerous articles, including a book which is

used as a training manual for law enforcement.        Dr. Mehlman-Orozco is the only human

trafficking expert qualified on the Los Angeles Superior Court panel of experts, and has testified

mostly in state court, but has also testified in federal court. Defendant raises no specific issue

regarding her qualifications and the Court finds that she satisfies Daubert’s requirements.

         B.     Reliability of Opinion Testimony

         Dr. Mehlman-Orozco described how her training guides her approach in developing an

opinion in the area of sex trafficking:

        She is trained in survey methodology as well as the collection and analysis of data and
         uses these methods in approaching the subject matter on which she provides opinions;

        Dr. Mehlman-Orozco has kept current on research methods, although she noted that it is
         difficult in this area to identify sex trafficking cases;

        She uses quantitative data to focus on prevalence/prediction/causation and quantitative
         studies rather than relying solely on qualitative information based on interviews.

                                               -4-
        Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 5 of 15




       However, her books focus more on qualitative information. Dr. Mehlman-Orozco
       pointed out that because human trafficking involves human relationships, this is an area
       where quantitative information is more difficult to come by.

      Dr. Mehlman-Orozco uses the Michigan Law Center Human Trafficking data base to set
       up interviews with victims as well as numerous interviews with about a half dozen people
       convicted of sex trafficking in order to understand how they recruit/control their victims.
       These interviews corroborated other studies that were done and were included in her
       publications:

              (1) a 2017 scholarly, peer-reviewed publication entitled “Projected Heroes
              and Self-Perceived Manipulators: Understanding the Duplicitous Identities
              of Human Traffickers” that was published in Trends in Organized Crime.
              Doc. 201-1. That article was the end product of Dr. Mehlman-Orozco’s
              qualitative research that delved into portrayed and self-identities of sex
              traffickers. This peer-reviewed article was also recently accepted for
              presentation at the 2018 American Society of Criminology academic
              conference in Atlanta, Georgia;

              (2) In 2015, Dr. Mehlman-Orozco’s peer-reviewed, scholarly article “Safe
              Harbor Legislation for Juvenile Victims of Sex Trafficking: A Myopic
              View of Improvements in Practice,” was published in the Journal of Social
              Inclusion, which was guest edited by Siddharth Kara, author of Sex
              Trafficking: Inside the Business of Modern Slavery and Director of the
              Program on Human Trafficking and Modern Slavery at the Kennedy
              School of Government at Harvard University and is attached hereto as
              Exhibit 2. For this article, Dr. Mehlman-Orozco analyzed yearly court data
              on juvenile prostitution arrests aggregated at the state level to explore the
              criminalization of commercial sexually exploited children post safe harbor
              policy implementation; and

              (3) in the fall of 2017, Dr. Mehlman-Orozco published Hidden in Plain
              Sight: America’s Slaves of the New Millennium, a book that examines
              trends in sex and labor trafficking in the United States, and is used as a
              manual to train law enforcement.

      Dr. Mehlman-Orozco has also conducted an extensive review of available case law,
       relying on what she referred to as a “triangulating data source” by looking at what
       information is available and then filling in gaps by interviewing people convicted of sex
       trafficking and understanding how they recruit/control their victims. Much of her content
       analysis focused on Michigan state case law, which Dr. Mehlman-Orozco stated had a
       “robust collection” of case law pertaining to sex trafficking.

       Despite Dr. Mehlman-Orozco’s description of the methodological approach, Defendant

characterizes her work as anecdotal, but this characterization is unfounded based on the


                                              -5-
         Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 6 of 15




testimony given at the hearing. Dr. Mehlman-Orozco’s expertise may have been derived to a

large degree from qualitative studies, but her expertise is undeniably based on scholarly and

peer-reviewed work regarding how the sex trafficking industry works. She has published peer-

reviewed journal articles and research papers; has appeared on TV discussing trafficking and

trends; and served as a peer reviewer for journals and grant applications. Dr. Mehlman-Orozco

stated that in developing her research, she does not rely on any one journal, but rather focuses on

specific researchers who have published on human trafficking issues in various journals, such as

the Journal of Human Trafficking and criminal article journals.

        The basis for Dr. Mehlman-Orozco’s opinion testimony is hardly premised on mere

“observation,” as Defendant contends. Rather, the Court finds that (1) these numerous

publications contain the intellectual rigor to meet Daubert’s vigorous peer-review standards; (2)

that Dr. Mehlman-Orozco’s opinion testimony is tied scientifically to qualitative experience

through interviews with victims, traffickers and sex workers; and (3) that it includes some

quantitative methodology based on her own research and her           studies related to published

research by colleagues in the field and through her participation in conferences on the subject.

        Defendant also questions the reliability of Dr. Mehlman-Orozco’s methodology by

claiming that her opinion is based on her own “interpretation” of the case law, and that in

identifying whether conduct qualifies as sex trafficking, Dr. Mehlman-Orozco simply keys off

the legal elements of the federal sex trafficking statute, 18 U.S.C. §1591 as a benchmark (using

force, threats of force, fraud or coercion to cause a person to cause the person to engage in a

commercial sex act, or causing a person under 18 years of age to engage in a commercial sex

act).




                                               -6-
          Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 7 of 15




        The Court soundly rejects this challenge as well, finding that Dr. Mehlman-Orozco’s

opinion testimony is not merely a “gloss” on the federal statutory elements, nor is her review of

cases premised on her own “interpretation” of the law. Dr. Mehlman-Orozco testified that she

approaches case law by conducting a systematic qualitative review from the viewpoint of a

researcher, not as a lawyer and reviews cases looking for what occurs commonly across these

cases as well as what does not occur. She stated that she does not apply or interpret the law. As a

researcher she does not use anecdote to form her opinions, nor does she use an a priori opinion

as a starting point. Rather, she studies the case law to determine whether the elements contained

in the cases are consistent with her research experience and with the work she has done

independently. The Court does not consider any part of this approach to constitute a “gloss” on

the federal sex trafficking statute nor on the relevant case law.

        The Court therefore finds that the opinion testimony offered by Dr. Mehlman-Orozco

satisfies the reliability requirements set forth under Daubert.

        C.      Relevance

        The next question is whether Dr. Mehlman-Orozco’s testimony will be relevant in that it

will assist the jury.

        At the hearing, Dr. Mehlman-Orozco described the topics on which she would offer

testimony, beginning with her observation that depictions of sex trafficking by the mainstream

media are misinformed. For example, she noted that so-called “experts” are skeptical that a child

can be engaged in sex work, when the erroneous criminalization of victims is more the reality,

where children are quite often criminalized and arrested for prostitution. Another misconception

is encouraged through the mainstream media’s glamorization of pimping—which involves

consenting relationships, are victimless and is a concept distinct from sex trafficking. Still



                                                -7-
         Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 8 of 15




another misconception is that trafficking works through physical force, discounting the element

of coercion through a formed relationship or through trauma bonding. In sex trafficking trauma

bonding, the victim develops a positive affinity and emotional bond, with the trafficker making it

difficult for victims to leave or to cooperate with law enforcement. Dr. Mehlman-Orozco also

noted that while a victim can have trauma bonds with various people in the trafficking

organization, they are not usually developed with the trafficker’s “enforcer” who assists in

gaining compliance from the victim.

       Dr. Mehlman-Orozco described the different methods used by traffickers to sustain their

hold over victims, such as debt bondage and rewards (clothing, jewelry, treatment—which in

turn increases the trafficker’s profit margin in making the victim more attractive as an asset), and

which keep the victim returning to the trafficker. Victims become compliant to the particular

brand of exploitation, and traffickers themselves fall into different categories showing different

psychologies and approaches to recruitment and control methods, for example: (1) the “Romeo-

style” approach; (2) the “heavy-handed guerilla” approach utilizing physical abuse where

traffickers have sex with victims showing dominance by raping and traumatizing them; and the

use of other women as well as other victims to recruit—which often leads to victims becoming

traffickers themselves).

       Dr. Mehlman-Orozco’s opinion testimony will also include a description of the factors

that render an individual at a higher risk and more inclined to victimization (a need for some

kind of basic need such as housing or food; love and belonging; and even self-esteem) and which

create a void that a trafficker seeks to fill. For example, victims with violent traffickers will often

present with domestic violence issues that become part of that trauma bond. Age can play into




                                                 -8-
           Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 9 of 15




recruitment, as younger victims are easier to target and control, and parents can themselves allow

trafficking to happen.

         On cross-examination, defense counsel asked Dr. Mehlman-Orozco to distinguish

between sex trafficking and consensual pimping, referring to domestic violence situations as an

example. Dr. Mehlman-Orozco responded that in making a determination whether a situation

was sex trafficking or a consensual relationship, one could not make this conclusion based on

any one or two specific factors (such as how many times one slapped a domestic partner or how

the individuals involves split the profits from commercial sex).3 Rather, one could only draw

conclusions after considering whether certain elements are consistent with trauma bonding which

has been determined to exist in other cases, such as: Did the victim return to the offender? Is the

victim cooperating with law enforcement? Does the victim wish to disclose the abuse?

         Dr. Mehlman-Orozco’s testimony will touch on topics of consent, the existence of trauma

bonds and characteristics of victims and sex traffickers. All of these are relevant to providing the

jury with the information necessary to determine the issues to be tried in this case. In light of the

misrepresentations fostered by the mainstream media about sex trafficking versus consensual

commercial sex, her testimony becomes all the more critical in ensuring that the jury is well-

informed.

         Nevertheless, Defendant seeks to limit Dr. Mehlman-Orozco’s opinion testimony to that

of a general principles expert. Specifically, defense counsel requests that the Court bar her from

using hypotheticals that might allude to the facts of this cases and from describing the

characteristics of sex trafficking. The Court denies the request. The Court notes that Dr.

Mehlman-Orozco was not provided and did not review, any records in this case. As she

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  To illustrate, defense counsel asked Dr. Mehlman-Orozco whether making false promises to a girlfriend to obtain
sex qualified as sex trafficking, but she responded that this kind of a situation was distinguished from sex trafficking
because it did not involve commercial sex.

                                                         -9-
        Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 10 of 15




explained, the purpose of her testimony was to describe the different facets of sex trafficking and

trauma bonding, but in the end the jury would have to decide whether and how it has any

connection to the instant case. Limiting the testimony as defense counsel suggests serves no

useful purpose and in fact will hamper the ability of Dr. Mehlman-Orozco to provide helpful

information to the jury which she is well-qualified to give.

       The information offered by Dr. Mehlman-Orozco is not within the common knowledge

of laypersons. In fact, the very questions asked by defense counsel on cross-examination

demonstrate the lack of common misperceptions misinformation laypersons might bring with

them to deliberate on these matters. The Court therefore finds that Dr. Mehlman-Orozco’s

testimony will help the jury decide the issues that remain to be tried in this case and will not

usurp the jury’s function in assessing credibility.

       D.      Rule 403 Balancing

       Under Fed.R.Evid. 403, the court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.

       Defendant does not explicitly argue that Dr. Mehlman-Orozco’s testimony would violate

Rule 403, but the Court has considered this as a possible reason behind defense counsel’s request

to limit the scope of that testimony. However, the Court finds that none of Rule 403’s balancing

factors are at risk if Dr. Mehlman-Orozco’s testimony is allowed. While some of the testimony

may hit close to home in this case, none of the testimony to be given is unfairly prejudicial under

Rule 403.




                                                - 10 -
        Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 11 of 15




       Accordingly, the Court finds that Dr. Mehlman-Orozco meets all the pertinent Daubert

qualifications as an expert.

II.    Special Agent Morgan Langer (“SA Langer”)

       A.      Qualifications

       SA Langer is a special agent with Homeland Security Investigations (“HSI”) and has

investigated sex trafficking cases since 2012. He has a Masters Degree in Criminal Justice and

offers training to other law enforcement officers, prosecutors, judges, health professionals,

teachers and politicians, as well as those who provide services to victims of sex trafficking.

Other law enforcement agencies also contact him because they have less experience in sex

trafficking cases, such as Alcohol Tobacco and Firearms (“ATF”), Drug Enforcement

Administration (“DEA”) and other non-governmental and non-profit organizations (“NGO”).

He explained that teachers or health care providers need training in this subject area because they

might come into contact with victims of abuse or who have sexually transmitted disease and their

familiarity with sex trafficking could prevent these victims from slipping between the cracks.

Also, knowing more about sex trafficking could encourage these providers to contact HSI when

they see “red flags” that could be signs of sex trafficking victims. SA Langer has investigated

over 500 sex trafficking cases, has interviewed hundreds of victims (with minors accounting for

under 5%).

       Defendant does not challenge SA Langer’s qualifications, and based on the above

information, the Court finds SA Langer to be qualified as an expert under Daubert standards.

       B.      Reliability of Opinion Testimony

       SA Langer will testify regarding the various characteristics of human trafficking based on

his training and experience and will describe how the sex trafficking industry works, beginning



                                              - 11 -
            Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 12 of 15




with advertising for commercial sex on certain websites such as Backpage.com. Identifying sex

trafficking websites is not an exact science, but he is familiar with certain indicia of sex

trafficking websites, such as the use of exploitive photos of women of very young individuals.4

Customers do not consider that websites that advertise for commercial sex could be part of a sex

trafficking ring.

           SA Langer is also familiar with how the commercial sex operations are run and with the

terminology that is used in sex trafficking. For example, sex traffickers know that customers

don’t like to talk to a male on the phone when setting up calls since a male voice signifies a “red

flag,” and so women usually answer the phone in these operations and do the talking. Also, the

trafficker is generally not present in the room where the transaction is carried out, but rather in

the background as an observer. SA Langer will testify, based on his experience and training,

about the methods used by traffickers to control victims which vary according to the particular

characteristics of the traffickers and about the characteristics of victims, who are reluctant to

disclose information about the experience and who see law enforcement as the enemy.

           Some victims have been coached not to trust by traffickers who describe threats of

“detox” in jail. SA Langer noted that these victim characteristics affect how interviews are

conducted since SA Langer is a law enforcement officer. Victims are as a result, often hostile,

introverted and closed off and it sometimes requires four or five encounters/interviews with the

victims before any information can be obtained. He stated that he makes it clear to the victims

during the interviews that he is not there to arrest them and offers them services.

           Defendant challenges the reliability of SA Langer’s opinion testimony because it is not

based on a scientific method in determining whether an advertisement or website is actually


4
    Backpage.com was a website address relevant to this case which is no longer operational.


                                                        - 12 -
          Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 13 of 15




connected to sex trafficking. The Court rejects this argument because opinion testimony does not

have to be “scientific” in order to meet Daubert standards. As mentioned previously, while

Daubert itself was limited to scientific evidence, in Kumho Tire Co., the Supreme Court made

clear that the gatekeeping obligation of the district courts described in Daubert applies, not just

to scientific testimony, but to all expert testimony. 526 U.S. 137, 141 (1999); United States v.

Baines, 573 F.3d 979, 985 (10th Cir. 2009). Thus, the test of reliability is flexible, and Daubert’s

list of specific factors neither necessarily nor exclusively applies to all experts or in every case.

Rather, the law grants a district court the same broad latitude when it decides how to determine

reliability as it enjoys in respect to its ultimate reliability determination. Id. at 141-42.

        SA Langer’s testimony is clearly not based on scientific evidence but rather on SA

Langer’s training and experience which is extensive on the subject of sex trafficking. See United

States v. Monteiro, 407 F.Supp.2d 351, 357 (D. Mass. 2006) (compiling cases) (noting that many

courts have recognized that the list of factors the Supreme Court outlined in Daubert “may not

perfectly fit every type of expert testimony, particularly technical testimony based primarily on

the training and experience of the expert.”).5 Based on the proffered testimony of SA Langer, as

well as his experience and training, the Court finds that this expert meets Daubert’s reliability

requirements.


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    The Sixth Circuit offers an interesting analogy to distinguish between scientific and non-scientific expert
testimony:

        By way of illustration, if one wanted to explain to a jury how a bumblebee is able to fly, an
        aeronautical engineer might be a helpful witness. Since flight principles have some universality,
        the expert could apply general principles to the case of the bumblebee. Conceivably, even if he
        had never seen a bumblebee, he still would be qualified to testify, as long as he was familiar with
        its component parts. . . On the other hand, if one wanted to prove that bumblebees always take off
        into the wind, a beekeeper with no scientific training at all would be an acceptable expert witness
        if a proper foundation were laid for his conclusions. The foundation would not relate to his formal
        training, but to his firsthand observations. In other words, the beekeeper does not know any more
        about flight principles than the jurors, but he has seen a lot more bumblebees than they have.

Berry v. City of Detroit 25 F.3d 1342, 1349 1350 (6th Cir. 1994).

                                                      - 13 -
        Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 14 of 15




       C.     Relevance

       Defendant contends that SA Langer’s testimony will not be helpful to the jury because

the information SA Langer offers is within the grasp of any lay person. Counsel distinguished

this case from drug trafficking cases where an expert would be helpful to testify as to drug

amounts that constitute non-personal use.

       Pursuant to Rule 702, courts must conduct a “common-sense inquiry” into whether a

juror would be able to understand certain evidence without specialized knowledge. United States

v. Becker, 230 F.3d 1224, 1231 (10th Cir.2000). The Court disagrees with Defendant’s

assessment of SA Langer’s testimony and finds that the testimony will both assist the jury and

not usurp the jury’s function in assessing credibility. First, sex trafficking is not within a

layperson’s common knowledge and experience. Most laypersons obtain information about the

subject from the mainstream media which itself depicts many misconceptions about sex

trafficking—particularly in how it affects younger individuals. Second, sex trafficking differs

with geographic locations, and SA Langer is knowledgeable regarding local sex trafficking

operations. Third, while aspects of SA Langer’s testimony potentially overlap somewhat with

Dr. Mehlman-Orozco’s testimony, their opinions are helpful in different ways. Dr. Mehlman-

Orozco offers a scientific and scholarly perspective on how sex trafficking affects victims: why

victims react the way they do and the methods traffickers use to get victims to comply. SA

Langer brings a local, “on the ground,” law enforcement view to the subject: how sex trafficking

advertises for customers, how it actually operates—much like DEA experts.       SA Langer can

testify on matters through in his experience that Dr. Mehlman-Orozco cannot do from her

research and interviews. Laypersons are not familiar with such matters and the Court finds that

SA Langer’s testimony meets Daubert’s relevance criteria.



                                             - 14 -
        Case 1:17-cr-01235-WJ Document 494 Filed 11/05/20 Page 15 of 15




       D.      Rule 403 Balancing

       Again, Defendant does not explicitly argue that SA Langer’s testimony violates Rule 403,

and the Court find that no reason to exclude this testimony for reasons of unfair prejudice,

confusion, misleading the issues or needlessly presenting cumulative evidence. As the Court has

just discussed, Dr. Mehlman-Orozco and SA Langer offer different viewpoints and information

on sex trafficking.

               THEREFORE,

       Defendant Wood’s Joint Motion to Exclude Government’s Expert Witnesses or in the

Alternative to Hold a Daubert Hearing (Doc. 190), is GRANTED in that the Court held an

evidentiary Daubert hearing, but Defendant Woods’ request to exclude the testimony of Dr.

Mehlman-Orozco and SA Langer is DENIED for reasons described in this Memorandum

Opinion and Order.



                                              _____________________________________
                                              WILLIAM P. JOHNSON
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                            - 15 -
